             Case 1:19-cr-00592-WJ Document 64 Filed 12/06/19 Page 1 of 2




           TIIE UMTED STATES DISTRICT COURT SECOND JUDICIAL
                                                            COURT
                        r.OR TIIE DISTRICT OF NEW MEXICO

 UI\iITED STATES OF AMERICA,
                                           )
           Plaintiff,                      )      CRIITIINAL NO. 19.592WJ
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                                          )
   vs.
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 RICK BENAVID&Z anit
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 DAMIAN MARON,
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         Defendants,



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mail# RB 713 220 szs us on the 4th day of December
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sean J. Sullivan : certified Mail #!rs055066g356933gr92933
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